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in U.S.D.C. + Atlanta
SEP 07 2022

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
UNITED STATES OF AMERICA Criminal Information
0.

NAGAINDRA SRIVASTAV 1:22-CR-0304

THE UNITED STATES ATTORNEY CHARGES THAT:

COUNT ONE
Conspiracy to Pay and Receive Kickbacks
(18 U.S.C. § 371)

1. Beginning ona date unknown, but at least by in or about June 2020, and
continuing until in or about October 2021, within the Northern District of
Georgia, and elsewhere, the Defendant,

NAGAINDRA SRIVASTAV,
did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with Individual 1, Individual 2, Individual 3, Individual 4,
Individual 5, and others known and unknown to the United States Attorney,

a. to commit an offense against the United States, that is, to knowingly
and willfully solicit and receive remuneration (kickbacks and bribes), directly
and indirectly, overtly and covertly, in cash and in kind, in return for referring
an individual to a person for the furnishing and arranging for the furnishing of

any item and service for which payment may be made in whole and in part
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under a Federal health care program, in violation of Title 42, United States Code,
Section 1320a-7b(b)(1)(A); and

b. to commit an offense against the United States, that is, to knowingly
and willfully offer and pay remuneration (kickbacks and bribes), directly and
indirectly, overtly and covertly, in cash and in kind, to any person to induce such
person to refer an individual to a person for the furnishing and arranging for the
furnishing of any item and service for which payment may be made in whole
and in part under a Federal health care program, in violation of Title 42, United
States Code, Section 1320a-7b(b)(2)(A).

Background
At all times relevant to this Information:

The Medicare Program

2. Medicare was a federal health care program that provided free or
below-cost health care benefits to individuals who were sixty-five years of age or
older or disabled. The benefits available under Medicare were governed by
federal statutes and regulations. The United States Department of Health and
Human Services (“HHS”), through its agency the Center for Medicare and
Medicaid Services ("CMS"), oversaw and administered Medicare.

3. Individuals who received benefits under Medicare were commonly
referred to as Medicare "beneficiaries.”

4. Medicare was a “health care benefit program,” as defined by Title 18,
United States Code, Section 24(b).
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5. Medicare was subdivided into multiple program “parts.” Medicare
Part A covered health services provided by hospitals, skilled nursing facilities,
hospices, and home health agencies. Medicare Part B covered physician services
and outpatient care, including an individual's access to DME, such as orthotic

devices and wheelchairs.

Durable Medical Equipment

6. Orthotic devices were a type of DME that included rigid and semi-
rigid devices, such as knee braces, back braces, shoulder braces, and wrist
braces (collectively, “braces”).

7. DME companies, physicians, and other health care providers that
provided services to Medicare beneficiaries were referred to as Medicare
“providers.” To participate in Medicare, providers were required to submit an
application in which the providers agreed to comply with all Medicare-related
laws and regulations. If Medicare approved a provider's application, Medicare
assigned the provider a Medicare “provider number.” A health care provider
with a Medicare provider number could file claims with Medicare to obtain
reimbursement for services rendered to beneficiaries.

8. Enrolled Medicare providers agreed to abide by the policies,
procedures, rules, and regulations governing reimbursement. To receive
Medicare funds, enrolled providers were required to abide by the Anti-Kickback
Statute and other laws and regulations. Providers were given access to Medicare
manuals and services bulletins describing billing procedures, rules, and

regulations.
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9, Medicare reimbursed DME companies and other health care providers
for services and items rendered to beneficiaries. To receive payment from
Medicare, providers submitted and caused the submission of claims to Medicare,
either directly or through a billing company.

10. A Medicare claim for DME reimbursement was required to set forth,
among other things, the beneficiary's name and unique Medicare identification
number, the equipment provided to the beneficiary, the date the equipment was
provided, the cost of the equipment, and the name and unique physician
identification number of the physician who prescribed or ordered the equipment.

11. A claim for DME submitted to Medicare qualified forreimbursement
only if it was medically necessary for the treatment of the beneficiary’s illness

or injury and prescribed by a licensed physician.

The Defendant and Related Entities

12. Defendant NAGAINDRA SRIVASTAV was a resident of Boca Raton,
Florida. Defendant SRIVASTAV owned and operated B2B Apps Solutions
(“B2B”), among other related companies, located in Tampa, Florida. Defendant
SRIVASTAV and Individual 1 were in the business of selling doctors’ orders to
DME companies, including Liberty Medical DME LLC (“Liberty”) and
Medihealth Medical Solutions LLC (“Medihealth”), as well as to resellers of
doctors’ orders.

13. Individual 1, a resident of Pelham, New York, was Defendant

SRIVASTAV’s business partner, who was in the business of selling doctors’
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orders to DME companies, including Liberty and Medihealth, as well as to
resellers of doctors’ orders.

14. Individual 2 was a resident of Atlanta, Georgia, and was an owner and
operator of Liberty, a Georgia corporation that did business in the Northern
District of Georgia. Liberty was a DME company that purportedly provided
braces to patients, including Medicare beneficiaries.

15. Individual 3 was a resident of Amory, Mississippi, and was an owner
and operator of Liberty as well as Medihealth, a Mississippi company that did
business in Amory, Mississippi. Medihealth was a DME company that
purportedly provided braces to patients including Medicare beneficiaries.

16. Individual 4 was a resident of Boca Raton, Florida, and Individual 5
was a resident of Port St. Lucia, Florida. Individual 4 and Individual 5 were
owners and operators of Laboratory Marketing Services LLC (“LMS”), also
known as Senior Care, as well as 2020 Technology Holding, LLC and other
related entities located in Boca Raton, Florida. Through these entities, Individual
4 and Individual 5 were in the business of selling patient information for
Medicare beneficiaries for whom claims for DME could be billed as well as
purchasing and selling doctors’ orders. Individual 4 and Individual 5 purchased
doctors’ orders from Defendant SRIVASTAV.

Purpose of the Conspiracy
17. It was a purpose of the conspiracy for Defendant SRIVASTAV and his
co-conspirators to unlawfully enrich themselves by, among other things: (a)

paying and receiving kickbacks and bribes in exchange for signed doctors’ orders

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for Medicare beneficiaries for braces that were medically unnecessary, not
eligible for reimbursement, and/or not provided or authorized as represented;
(b) submitting and causing the submission of false and fraudulent claims to
Medicare; (c) concealing and causing the concealment of false and fraudulent
claims; and (d) diverting fraud proceeds for their personal use and benefit, the
use and benefit of others, and to further the fraud.

Manner and Means of the Conspiracy

18. The manner and means by which Defendant SRIVASTAV and his co-
conspirators sought to accomplish the objects and purposes of the conspiracy
included, among other things, the following:

19. Defendant SRIVASTAV, along with his co-conspirators, including
Individual 1, created and operated an internet-based platform that individuals
and businesses in the health care industry used for the purchase and sale of
physician orders for DME, such as ankle, back, knee, and leg braces. Through
B2B and other related companies, Defendant SRIVASTAYV and Individual 1 paid
and received remuneration for the referral of federal health care business.

20.To accomplish this, Defendant SRIVASTAV created a website,
RepsHub, in which DME companies and other health care “representatives”
uploaded potential DME-patient information, called “leads,” which were
generally obtained through telemarketing campaigns targeting beneficiaries for
whom DME products could be billed.
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21. In addition, and in conjunction with his selling of physician orders,
Defendant SRIVASTAV also offered and sold leads, which he obtained through
call centers controlled by himself and his co-conspirator, Individual 1.

22. For DME companies or other customers who did not purchase leads
from Defendant SRIVASTAV, the “lead” information would be uploaded to B2B
through RepsHub. Upon receipt of the leads, Defendant SRIVASTAV sent the
lead information to purported telemedicine companies, who would return
signed physicians’ orders for those patients in exchange for payment. Defendant
SRIVASTAV sold those orders to DME customers for approximately $100 per
physician’s order.

23. For customers who purchased both leads and physicians’ orders,
Defendant SRIVASTAV and his co-conspirators supplied the customer with
signed physician orders for billable beneficiaries upon receipt of payment of
approximately $325 per lead with its associated order(s).

24. Defendant SRIVASTAV, Individual 1, and their co-conspirators used
two Canadian corporations as part of the scheme, which provided no services to
any customers. But Defendant SRIVASTAV and Individual 1 caused their
customers to enter into contracts with these Canadian corporations, including
MDS Health (“MDS”) and Innovation Tech Lab (“Innovation Tech”), called
“Management Services Agreements,” which falsely stated that the companies
would provide management and administrative services for the Defendant's
customers. Neither Defendant SRIVASTAV, Individual 1, nor B2B were named
in these contracts. Defendant SRIVASTAV, Individual 1, and their co-

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conspirators received kickback payments from their customers for doctors’
orders through bank accounts associated with the Canadian corporations, and
the Defendant also paid kickbacks to purported telemedicine providers through
these accounts

25. Among their numerous other clients, Defendant SRIVASTAV and
Individual 1 sold doctors’ orders to Individual 2 and Individual 3, who owned
and operated Liberty, located in the Northern District of Georgia. Defendant
SRIVASTAV and Individual 1 also sold doctors’ orders to Individual 4 and
Individual 5, who owned and operated LMS.

26. Defendant SRIVASTAV was notified on multiple occasions that the
purported authorizing physicians had not signed the doctors’ orders that
Defendant SRIVASTAV and Individual 1 sold to their clients.

Overt Acts

27. In furtherance of the conspiracy, and to accomplish its objects and
purposes, Defendant SRIVASTAV and his co-conspirators committed and caused
to be committed the following overt acts, among others, in the Northern District
of Georgia and elsewhere:

28.On or about June 3, 2020, Individual 3 executed a “Management
Services Agreement” with one of the Canadian corporations used by Defendant
SRIVASTAV and Individual 1 to receive kickback payments, but which provided
no services itself. The Management Services Agreement falsely stated that the
Canadian corporation would provide management and administrative services
. when, in reality, Defendant SRIVASTAV and Individual 1, who were not named
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in the contract, provided only signed doctors’ orders for DME to Individual 2
and Individual 3, who owned and operated Medihealth and Liberty, in return for
kickbacks.

29. On or about July 30, 2020, Individual 2 and Individual 3, through
Liberty, transferred $2,500 to Defendant SRIVASTAV and Individual 2, through
MDS Health, in exchange for signed doctors’ orders for DME to be billed by
Liberty.

30. On or about August 3, 2020, Defendant SRIVASTAYV, Individual 2, and
their co-conspirators caused signed doctors’ orders to be provided to Liberty via
Dropbox in exchange for the July 30, 2020 payment.

31. Between on or about August 3, 2020 and August 5, 2020, Individual 2
and Individual 3 caused Liberty to submit claims to Medicare based upon the
orders purchased from Defendant SRIVASTAV and Individual 2.

32. On or about November 2, 2020, Individual 3, through Medihealth,
transferred $15,000 to Defendant SRIVASAV and Individual 2, through
Innovation Tech, in exchange for signed doctors’ orders for DME to be billed by
both Liberty and Medihealth.

33.On or about November 3, 2020, Defendant SRIVASTAV, Individual 2,
and their co-conspirators caused signed doctors’ orders to be provided to Liberty
and Medihealth via Dropbox in exchange for the November 2, 2020 payment.

34. Between on or about November 3, 2020 and November 9, 2020,
Individual 2 and Individual 3 caused Liberty and Medihealth to submit claims to
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Medicare based upon the orders purchased from Defendant SRIVASTAV and
Individual 2.

All in violation of Title 18, United States Code, Section 371.

COUNT TWO
Solicitation or Receipt of Kickbacks
(42 U.S.C. § 1320a-7b)

35. Paragraphs 2 through 26 of this Information are re-alleged and
incorporated by reference as if fully set forth herein.

36. On or about July 30, 2020, in the Northern District of Georgia and
elsewhere, the Defendant,

NAGAINDRA SRIVASTAV,
did knowingly and willfully solicit and receive remuneration, that is, kickbacks
and bribes, directly and indirectly, overtly and covertly, in cash and in kind,
namely, a wire transfer in the approximate amount of $2,500 from the originating
Bank of America account ending in 3578 belonging to Liberty to a Bank of
Montreal bank account ending in 0263, belonging to MDS Health, a Canadian
company used by Defendant SRIVASTAV and Individual 1, in return for
referring an individual to a person for the furnishing and arranging for the
furnishing of any item and service for which payment may be made in whole
and in part under a Federal health care program, namely, Medicare.
All in violation of Title 42, United States Code, Section 1320a-7b(b)(1) (A) and

Title 18, United States Code, Section 2.

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Forfeiture

Pursuant to Title 18, United States Code, Section 982(a)(7), upon conviction of
any offenses alleged in Counts One through Two above, the Defendant,
NAGAINDRA SRIVASTAV, shall forfeit to the United States any property
constituting, or derived from, any proceeds obtained, directly or indirectly, from

gross proceeds traceable to the commission of the offense.

RYAN K. BUCHANAN
nited States Attorney

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